29/2016 Print

Subject: Re: Beretta Ternination of Employment
From: Paul WILKIN (pawski4@yahoo.com)
To: akotler@Berettausa.com;

Date: Tuesday, September 13, 2016 2:40 PM

Ma'am. I am requesting a letter of separation which states the reason I was terminated.
And is there an appeal process. Because beretta has continually aggravated my disability.
Sent from my iPhone

On Sep 12, 2016, at 1:51 PM, Alison Kotler < > wrote:

Paul —

This email serves to confirm in writing that Beretta has terminated your employment effective Friday September 9th.
Asa part of this tennination Beretta will provide you with a two week (80 hours total) severance package. Iwill
provide you with your severance agreement in a separate email by end of the day today. Your benefits will end
9/30/2016 per company policy. Any remaining vacation hours will be paid to you in your final check, per company
policy.

Tam unable to coordinate a time this aftemoon for you to retum to the facility to pick up your personal items. Please

confirm a time on Saturday September 17" in the moming that you will be able to retum to the facility so Ican make
the necessary arrangements.

Thanks!

Alison L, Kotler, SPHR, SHRM-SCP
Director of Human Resources

Beretta U.S.A. Corp,

17601 Beretta Drive, Accokeek, MD 20607
(T) (301) 283-2191 Ext. 1311

(F) (301) 283-5113

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